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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )                     8:13CR313
                    Plaintiff,              )
                                            )
      vs.                                   )               ORDER
                                            )
BOBBY GRIFFIN,                              )
KIRSTEN GRIFFIN and                         )
SHARON KAY TYLER,                           )
                                            )
                    Defendants.             )
      This matter is before the court on the oral motion of the government and the
defendants    for an extension of the discovery and pretrial motion deadlines             The
motion was made during the arraignment on the Indictment on August 30, 2013. The
oral motion was granted.
      IT IS ORDERED:
      1.     The motion for an extension of time for discovery and to file pretrial
motions is granted. The parties shall have to on or before September 20, 2013, in
which to complete discovery and shall have to on or before October 18, 2013, in
which to file pretrial motions in accordance with the progression order.
      2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial.                The
additional time arising as a result of the granting of the motion, i.e., from September
20, 2013, and October 18, 2013, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason counsel require
additional time to adequately prepare the case, taking into consideration due diligence
of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. ' 3161(h)(7)(A) & (B).
      DATED this 30th day of August, 2013.
                                                     BY THE COURT:
                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
